          Case 2:19-bk-24804-VZ                  Doc 555 Filed 04/03/20 Entered 04/03/20 17:04:30                                       Desc
                                                  Main Document    Page 1 of 117

 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &     FOR COURT USE ONLY
 Email Address
 Richard M. Pachulski (CA Bar No. 90073)
 Jeffrey W. Dulberg (CA Bar No. 181200)
 Malhar S. Pagay (CA Bar No. 189289)
 PACHULSKI STANG ZIEHL & JONES LLP
 10100 Santa Monica Boulevard, 13th Floor
 Los Angeles, CA 90067
 Telephone: 310/277-6910
 Facsimile: 310/201-0760
 Email: rpachulski@pszjlaw.com
        jdulberg@pszjlaw.com
        mpagay@pszjlaw.com

      Attorney for: Debtor

                                         UNITED STATES BANKRUPTCY COURT
                                CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

 In re:                                                                     CASE NO.: 2:19-bk-24804-VZ

 YUETING JIA,                                                               CHAPTER: 11

                                                    Debtor(s).                        NOTICE OF OBJECTION TO CLAIM

                                                                            DATE: May 7, 2020
                                                                            TIME: 1:30 p.m.
                                                                            COURTROOM: 1368
                                                                            PLACE: 255 East Temple Street
                                                                                   Los Angeles, CA 90012



1. TO (specify claimant and claimant's counsel, if any):                  Han’s San Jose Hospitality LLC

2.   NOTICE IS HEREBY GIVEN that the undersigned has filed an objection to your Proof of Claim (Claim No. 60) filed in
     the above referenced case. The Objection to Claim seeks to alter your rights by disallowing, reducing or modifying
     the claim based upon the grounds set forth in the objection, a copy of which is attached hereto and served
     herewith.
3. Deadline for Opposition Papers: You must file and serve a response to the Objection to Claim not later than 14
   days prior to the hearing date set forth above.
     IF YOU FAIL TO TIMELY RESPOND IN ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE
     RELIEF REQUESTED IN THE OBJECTION WITHOUT FURTHER NOTICE OR HEARING.


Date:     April 3, 2020                                                          PACHULSKI STANG ZIEHL & JONES LLP
                                                                                 Printed name of law firm
                                                                                 /s/ Malhar S. Pagay
                                                                                 Signature
Date Notice Mailed: April 3, 2020                                                Malhar S. Pagay
                                                                                 Printed name of attorney for objector




           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
December 2012                                                          Page 1                          F 3007-1.1.NOTICE.OBJ.CLAIM
DOCS_LA:328815.1 46353/002
                                                                   Case 2:19-bk-24804-VZ             Doc 555
                                                                                                         500 Filed 04/03/20
                                                                                                                   04/02/20 Entered 04/03/20
                                                                                                                                     04/02/20 17:04:30
                                                                                                                                              21:38:40                           Desc
                                                                                                      Main Document    Page 2
                                                                                                                            1 of 117
                                                                                                                                 114


                                                                   1   Richard M. Pachulski (CA Bar No. 90073)
                                                                       Jeffrey W. Dulberg (CA Bar No. 181200)
                                                                   2   Malhar S. Pagay (CA Bar No. 189289)
                                                                       PACHULSKI STANG ZIEHL & JONES LLP
                                                                   3   10100 Santa Monica Blvd., 13th Floor
                                                                       Los Angeles, CA 90067
                                                                   4   Telephone: 310/277-6910
                                                                   5   Facsimile: 310/201-0760
                                                                       Email: rpachulski@pszjlaw.com
                                                                   6            jdulberg@pszjlaw.com
                                                                                mpagay@pszjlaw.com
                                                                   7
                                                                       Attorneys for Debtor and Debtor in Possession
                                                                   8

                                                                   9                                   UNITED STATES BANKRUPTCY COURT
                                                                  10                                    CENTRAL DISTRICT OF CALIFORNIA
                                                                  11
                                                                                                                  LOS ANGELES DIVISION
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   In re:                                                         Case No.: 2:19-bk-24804-VZ
                                        LOS ANGELES, CALIFORNIA




                                                                  13   YUETING JIA,1                                                  Chapter 11
                                           ATTORNEYS AT LAW




                                                                  14                                       Debtor.                    DEBTOR’S NOTICE OF OBJECTION
                                                                                                                                      AND MOTION, AND OBJECTION TO
                                                                  15                                                                  CLAIM OR, ALTERNATIVELY,
                                                                                                                                      MOTION FOR ESTIMATION OF CLAIM
                                                                  16                                                                  NO. 60 FILED BY HAN’S SAN JOSE
                                                                                                                                      HOSPITALITY LLC, FOR PURPOSES OF
                                                                  17                                                                  VOTING ON PLAN; MEMORANDUM OF
                                                                                                                                      POINTS AND AUTHORITIES AND
                                                                  18                                                                  DECLARATION OF YUETING JIA IN
                                                                                                                                      SUPPORT THEREOF
                                                                  19
                                                                                                                                      Date:           May 7, 2020
                                                                  20                                                                  Time:           1:30 p.m.
                                                                                                                                      Place:          Courtroom 1368
                                                                  21                                                                                  Roybal Federal Building
                                                                                                                                                      255 E. Temple Street
                                                                  22                                                                                  Los Angeles, California 90012

                                                                  23                                                                  Judge:          Hon. Vincent P. Zurzolo

                                                                  24

                                                                  25            PLEASE TAKE NOTICE that, on May 7, 2020, beginning at 1:30 p.m. (Pacific Time), or

                                                                  26   as soon thereafter as counsel may be heard before the Hon. Vincent P. Zurzolo, in Courtroom 1368

                                                                  27
                                                                       1
                                                                        The last four digits of the Debtor’s federal tax identification number are 8972. The Debtor’s mailing address is
                                                                  28   91 Marguerite Drive, Rancho Palos Verdes, CA 90275.


                                                                       DOCS_LA:328670.1 46353/002
                                                                   Case 2:19-bk-24804-VZ               Doc 555
                                                                                                           500 Filed 04/03/20
                                                                                                                     04/02/20 Entered 04/03/20
                                                                                                                                       04/02/20 17:04:30
                                                                                                                                                21:38:40           Desc
                                                                                                        Main Document    Page 3
                                                                                                                              2 of 117
                                                                                                                                   114


                                                                   1   of the Edward R. Roybal Federal Building and Courthouse, located at 255 E. Temple Street, Los

                                                                   2   Angeles, California 90012, pursuant to the Order (I) Approving the Fourth Amended Disclosure

                                                                   3   Statement; (II) Approving the Voting Procedures and Tabulation Procedures; (III) Setting the Date

                                                                   4   and Time for the Confirmation Hearing and Related Deadlines; (IV) Waiving Certain Local Rules

                                                                   5   and Procedures Related to the Timing and Approval of the Fourth Amended Disclosure Statement

                                                                   6   and Confirmation of the Third Amended Plan; and (V) Granting Related Relief [Docket No. 485]

                                                                   7   (the “Disclosure Statement Order”), which provides, in pertinent part, that if the Debtor has served

                                                                   8   an objection or request for estimation as to a claim by April 2, 2020, such claim shall be temporarily

                                                                   9   disallowed for voting purposes only (and not for purposes of allowance or distribution), except to the

                                                                  10   extent and in the manner as may be set forth in such objection or as ordered by the Court before the

                                                                  11   voting deadline, i.e., April 30, 2020 at 4:00 p.m. (Beijing Time),2 Yueting Jia (the “Debtor” or
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   “YT”), debtor and debtor in possession herein, will move (the “Motion”) the Court for an order to
                                        LOS ANGELES, CALIFORNIA




                                                                  13   disallow, pursuant to the instant objection, or, alternatively, to estimate at $0.00 for voting purposes
                                           ATTORNEYS AT LAW




                                                                  14   only, claim number 60 (the “Claim”), filed by Han’s San Jose Hospitality LLC (the “Claimant”) for

                                                                  15   voting purposes only.

                                                                  16              PLEASE TAKE FURTHER NOTICE that the Motion has been served upon the Claimant

                                                                  17   and all parties entitled thereto and is based upon the supporting Memorandum of Points and

                                                                  18   Authorities and Declaration of Yueting Jia, the statements, arguments and representations of counsel

                                                                  19   who appear at the hearing on the Motion, the files and records in the above-captioned case, any

                                                                  20   evidence properly before the court prior to or at the hearing regarding the Motion and all matters of

                                                                  21   which the court may properly take judicial notice.

                                                                  22              PLEASE TAKE FURTHER NOTICE that pursuant to Local Bankruptcy Rule 9013-1(f),

                                                                  23   responses to the Motion must be filed with the Court and served upon the Debtor’s counsel at the

                                                                  24   address in the upper left-hand corner of this Motion no later than fourteen (14) days prior to the

                                                                  25   hearing date. Responses must contain a written statement of all reasons the Motion is opposed and

                                                                  26   must include declarations and copies of all documentary evidence on which the responding party

                                                                  27   intends to rely. Responses must be filed either electronically or at the following location:

                                                                  28
                                                                       2
                                                                           Disclosure Statement Order, 6 at ¶ 17(e).

                                                                       DOCS_LA:328670.1 46353/002                           2
                                                                   Case 2:19-bk-24804-VZ            Doc 555
                                                                                                        500 Filed 04/03/20
                                                                                                                  04/02/20 Entered 04/03/20
                                                                                                                                    04/02/20 17:04:30
                                                                                                                                             21:38:40               Desc
                                                                                                     Main Document    Page 4
                                                                                                                           3 of 117
                                                                                                                                114


                                                                   1                                       United States Bankruptcy Court
                                                                                                             Attention: Clerk’s Office
                                                                   2                                            255 E. Temple Street
                                                                                                              Los Angeles, CA 90012
                                                                   3

                                                                   4            PLEASE TAKE FURTHER NOTICE THAT THE MOTION SEEKS TO DISALLOW

                                                                   5   YOUR CLAIM (OR ESTIMATE AT $0.00) ONLY IN CONNECTION WITH VOTING ON

                                                                   6   THE DEBTOR’S THIRD AMENDED PLAN OF REORGANIZATION UNDER CHAPTER

                                                                   7   11 OF THE BANKRUPTCY CODE [DOCKET NO. 464] AND DOES NOT IMPACT THE

                                                                   8   ULTIMATE ALLOWANCE OF YOUR CLAIM OR DISTRIBUTIONS YOU MAY BE

                                                                   9   ENTITLED TO RECEIVE ON ACCOUNT OF YOUR CLAIM. IF YOU DO NOT OPPOSE

                                                                  10   THE MOTION YOU DO NOT NEED TO FILE ANY PAPERS, SIGN ANY FURTHER

                                                                  11   AGREEMENTS OR TAKE ANY FURTHER ACTION.
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12            PLEASE TAKE FURTHER NOTICE that if a response is not timely filed and served, the

                                                                       Debtor will request that the court grant the relief requested in the Motion without further notice or
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                  14   hearing.

                                                                  15            PLEASE TAKE FURTHER NOTICE that if a response is timely filed and served upon the

                                                                  16   Debtor’s counsel, the Court, in its discretion, may treat the initial hearing as a status conference if it

                                                                  17   determines that the Motion involves disputed factual issues or will require presentation of substantial

                                                                  18   evidence or argument.

                                                                  19            WHEREFORE, the Debtor respectfully requests that the Court enter an order (i) granting

                                                                  20   the Motion and sustaining the Debtor’s objection to the Claim; (ii) disallowing the Claim in its

                                                                  21   entirety, or, alternatively, estimating the Claim at $0.00 for voting purposes only; and (iii) granting

                                                                  22   the Debtor such other and further relief as may appropriate under the circumstances.

                                                                  23   Dated:     April 2, 2020                       PACHULSKI STANG ZIEHL & JONES LLP

                                                                  24
                                                                                                                      By        /s/ Malhar S. Pagay
                                                                  25                                                            Richard M. Pachulski
                                                                                                                                Jeffrey W. Dulberg
                                                                  26                                                            Malhar S. Pagay

                                                                  27                                                            Counsel for Debtor and Debtor in
                                                                                                                                Possession
                                                                  28


                                                                       DOCS_LA:328670.1 46353/002                           3
                                                                   Case 2:19-bk-24804-VZ            Doc 555
                                                                                                        500 Filed 04/03/20
                                                                                                                  04/02/20 Entered 04/03/20
                                                                                                                                    04/02/20 17:04:30
                                                                                                                                             21:38:40             Desc
                                                                                                     Main Document    Page 5
                                                                                                                           4 of 117
                                                                                                                                114


                                                                   1                            MEMORANDUM OF POINTS AND AUTHORITIES

                                                                   2                                                    I.
                                                                   3                                             JURISDICTION
                                                                   4           This Court has jurisdiction over this proceeding pursuant to 28 U.S.C. §§ 157 and 1334.

                                                                   5   Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory predicates for the relief

                                                                   6   sought herein are sections 102, 105 and 502(b) of title 11 of the United States Code, 11 U.S.C. §§

                                                                   7   101, et seq. (the “Bankruptcy Code”), and Rules 3007 and 3018(a) of the Federal Rules of

                                                                   8   Bankruptcy Procedure (the “Bankruptcy Rules”).

                                                                   9                                                    II.
                                                                  10                                             BACKGROUND
                                                                  11   A.      Commencement of the Chapter 11 Case
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12           On October 14, 2019 (the “Petition Date”), the Debtor commenced this case (the “Chapter 11
                                        LOS ANGELES, CALIFORNIA




                                                                  13   Case”) by filing a voluntary petition for relief under chapter 11 of the Bankruptcy Code in the
                                           ATTORNEYS AT LAW




                                                                  14   United States Bankruptcy Court for the District of Delaware (the “Delaware Bankruptcy Court”).

                                                                  15   The Debtor continues in possession of his property and manages his affairs as a debtor in possession

                                                                  16   pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

                                                                  17           On October 25, 2019, the U.S. Trustee appointed the Official Committee of Unsecured

                                                                  18   Creditors pursuant to section 1102(a)(1) of the Bankruptcy Code (the “Committee”) [Docket No.

                                                                  19   45]. The Committee consists of the following members: (i) Ping An Bank., Ltd. Beijing Branch; (ii)

                                                                  20   China Minsheng Trust Co., Ltd; (iii) Shanghai Leyu Chuangye Investment Management Center LP;

                                                                  21   (iv) Jiangyin Hailan Investment Holding Co., Ltd; and (v) Shanghai Qichengyueming Investment

                                                                  22   Partnership Enterprise.

                                                                  23           On November 13, 2019, the Court entered an order setting January 24, 2020, as the general

                                                                  24   deadline (the “Bar Date”) for the filing of proofs of claim or proofs of interest against the Debtor’s

                                                                  25   estate. In accordance with the Court’s Order establishing the Bar Date, notice of the Bar Date was

                                                                  26   given by mail to the Debtor’s creditors and interest holders.

                                                                  27           On December 18, 2019, Judge Karen B. Owens of the Delaware Bankruptcy Court

                                                                  28   transferred the Chapter 11 Case to this Court.


                                                                       DOCS_LA:328670.1 46353/002                             4
                                                                   Case 2:19-bk-24804-VZ             Doc 555
                                                                                                         500 Filed 04/03/20
                                                                                                                   04/02/20 Entered 04/03/20
                                                                                                                                     04/02/20 17:04:30
                                                                                                                                              21:38:40                            Desc
                                                                                                      Main Document    Page 6
                                                                                                                            5 of 117
                                                                                                                                 114


                                                                   1   B.       Approval of the Debtor’s Disclosure Statement

                                                                   2            On March 20, 2020, the Court entered the Disclosure Statement Order, pursuant to which the

                                                                   3   Court approved the Debtor’s Fourth Amended Disclosure Statement with Respect to Debtor’s Third

                                                                   4   Amended Plan of Reorganization Under Chapter 11 of the Bankruptcy Code [Docket No. 465] (the

                                                                   5   “Plan”), and granting other relief.

                                                                   6            The Disclosure Statement Order provides, in pertinent part, that if the Debtor has served an

                                                                   7   objection or request for estimation as to a claim by April 2, 2020, such claim shall be temporarily

                                                                   8   disallowed for voting purposes only and not for purposes of allowance or distribution, except to the

                                                                   9   extent and in the manner as may be set forth in such objection, or as ordered by the Court before the

                                                                  10   voting deadline, i.e., April 30, 2020 at 4:00 p.m. (Beijing Time). Disclosure Statement Order, 6 at

                                                                  11   ¶ 17(e).
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   C.       The Claim
                                        LOS ANGELES, CALIFORNIA




                                                                  13            The Claim, a true and correct copy of which is attached hereto as Exhibit “A,”3 is predicated
                                           ATTORNEYS AT LAW




                                                                  14   upon a Complaint for (1) Breach of Contract; (2) Breach of Implied Covenant of Good Faith and

                                                                  15   Fair Dealing; (3) Fraud; (4) Negligent Misrepresentation; (5) Negligence; (6) Intentional

                                                                  16   Interference with Contract (the “Complaint”), filed by Claimant against the Debtor and Ocean View

                                                                  17   Drive, Inc. (“Ocean View”), and attached to the proof of claim. The Complaint states: “This is an

                                                                  18   action for breach of contract and related claims arising out of a written rental agreement (“Lease”)

                                                                  19   for … commercial property ….” Complaint, 1 at ¶ 1. The written rental agreement referenced in the

                                                                  20   Complaint is that certain Office Lease, by and between BSREP Rio Robles LLC, on the one hand,

                                                                  21   and Le Technology, Inc., and Le Holdings (Beijing) Co., Ltd., attached as Exhibit “1” to the

                                                                  22   Complaint (the “Lease”). The Complaint, seemingly based largely on media articles, alleges that

                                                                  23   “[o]n information and belief, [Claimant] alleges that Ocean View Drive, Le Technology and Faraday

                                                                  24   Future served as alter egos for [the Debtor] ….” Id., 2 at ¶ 4.

                                                                  25            The Debtor is not a party to the Lease. Neither Ocean View, Le Technology, Inc., nor Le

                                                                  26   Holdings (Beijing) Co.., Ltd. (collectively, the “Entities”), are “alter egos” of the Debtor.

                                                                  27

                                                                  28   3
                                                                        The Debtor respectfully requests that the Court take judicial notice of the filed Claim pursuant to Rule 201 of the
                                                                       Federal Rules of Evidence.

                                                                       DOCS_LA:328670.1 46353/002                                  5
                                                                   Case 2:19-bk-24804-VZ            Doc 555
                                                                                                        500 Filed 04/03/20
                                                                                                                  04/02/20 Entered 04/03/20
                                                                                                                                    04/02/20 17:04:30
                                                                                                                                             21:38:40               Desc
                                                                                                     Main Document    Page 7
                                                                                                                           6 of 117
                                                                                                                                114


                                                                   1                                                     III.

                                                                   2                                                 ARGUMENT

                                                                   3   A.      Procedural Requirements for Objections to Claims

                                                                   4           Bankruptcy Rule 3007 governs the procedure for objections to claims. It provides as

                                                                   5   follows: “An objection to an allowance of a claim shall be in writing and filed. A copy of the

                                                                   6   objection with notice of the hearing thereon shall be mailed or otherwise delivered to the claimant

                                                                   7   . . . at least thirty days prior to the hearing.” Fed. R. Bankr. P. 3007.

                                                                   8           Pursuant to Bankruptcy Rule 3007, a copy of the Objection will be mailed to Claimants at the

                                                                   9   addresses provided by Claimants in the Claims, and, where available and if different from the

                                                                  10   address provided on the proof of claim, on each Claimant’s address registered with the National

                                                                  11   Enterprise Credit Information Publicity System (http://www.gsxt.gov.cn/index.html), a government-
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                                                                  12   run, national, enterprise credit inquiry system in the People’s Republic of China, at least thirty days

                                                                       prior to the hearing date for consideration of the Objection. Accordingly, by the time of the hearing
                                        LOS ANGELES, CALIFORNIA




                                                                  13
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                                                                  14   hereon, the Trustee will have complied with Bankruptcy Rule 3007.

                                                                  15   B.      The Court Must Determine the Allowance of a Claim Subject to Objection

                                                                  16           With certain exceptions, section 502(b) of the Bankruptcy Code requires, in relevant part,

                                                                  17   that if a party in interest objects to a claim, “the Court, after notice and a hearing, shall determine the

                                                                  18   amount of such claim in lawful currency of the United States as of the date of the filing of the

                                                                  19   petition, and shall allow such claim in such amount, except to the extent that -- (1) such claim is

                                                                  20   unenforceable against the debtor and property of the debtor, under any agreement or applicable law

                                                                  21   for a reason other than because such claim is contingent or unmatured ….”

                                                                  22   C.      Burden of Proof

                                                                  23           All allegations set forth in a properly filed proof of claim are taken as true and, if the

                                                                  24   allegations set forth all facts necessary to establish a claim and are not self-contradictory, the proof

                                                                  25   of claim constitutes prima facie evidence of the validity and amount of the claim. 11 U.S.C.

                                                                  26   § 502(a); Fed. R. Bankr. P. 3001(f). However, a claimant must attach copies of writings upon which

                                                                  27   claims are based in order to carry its burden of establishing a prima facie case against the debtor.

                                                                  28   Hardin v. Gianni (In re King Investments Inc.), 219 B.R. 848, 858 (B.A.P. 9th Cir. 1998). Further, a


                                                                       DOCS_LA:328670.1 46353/002                           6
                                                                   Case 2:19-bk-24804-VZ            Doc 555
                                                                                                        500 Filed 04/03/20
                                                                                                                  04/02/20 Entered 04/03/20
                                                                                                                                    04/02/20 17:04:30
                                                                                                                                             21:38:40             Desc
                                                                                                     Main Document    Page 8
                                                                                                                           7 of 117
                                                                                                                                114


                                                                   1   claim should not be allowed if that claim is unenforceable against the debtor and property of the

                                                                   2   debtor, under any agreement or applicable law. 11 U.S.C. § 502(b)(1).

                                                                   3           Once the objector raises “facts tending to defeat the claim by probative force equal to that of

                                                                   4   the allegations of the proofs of claim themselves,” Wright v. Holm (In re Holm), 931 F.2d 620, 623

                                                                   5   (9th Cir. 1991), then “the burden reverts to the claimant to prove the validity of the claim by a

                                                                   6   preponderance of the evidence.” Ashford v. Consolidated Pioneer Mortgage (In re Consolidated

                                                                   7   Pioneer Mortgage), 178 B.R. 222, 226 (B.A.P. 9th Cir. 1995), aff’d, 91 F.3d 151 (9th Cir. 1996).

                                                                   8   “[T]he ultimate burden of persuasion is always on the claimant.” Holm, 931 F.2d at 623. In

                                                                   9   considering an objection to a claim, a bankruptcy court may take judicial notice of the underlying

                                                                  10   records in a bankruptcy case. O’Rourke v. Seaboard Surety Co., (In re ER Fergert, Inc.), 887 F.2d

                                                                  11   955, 957-958 (9th Cir. 1998).
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   D.      The Claim Should Be Disallowed for Plan Voting Purposes
                                        LOS ANGELES, CALIFORNIA




                                                                  13           Courts recognize that Bankruptcy Rule 3018(a) permits a party in interest to seek to disallow
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                                                                  14   a claim for voting purposes. Ultimately, the determination of whether to temporarily allow a claim

                                                                  15   for voting purposes lies within the discretion of the bankruptcy court. See Armstrong v. Rushton (In

                                                                  16   re Armstrong), 294 B.R. 344, 354 (B.A.P. 10th Cir. 2003) (“There is no guidance in the Bankruptcy

                                                                  17   Code to courts as to determine whether to permit the temporary allowance of a claim; it is left to the

                                                                  18   court’s discretion.”). Indeed, courts have broad authority to determine whether to allow or disallow

                                                                  19   a claim for purposes of voting under Bankruptcy Rule 3018(a). See, e.g., In re Mangia Pizza Invs.,

                                                                  20   L.P., 480 B.R. 669, 679 (Banker. W.D. Tex. 2012); In re Zolner, 174 B.R. 629, 633 (Bankr. N.D. Ill.

                                                                  21   1994) (noting that a court must exercise its discretion to allow or disallow a claim under Bankruptcy

                                                                  22   Rule 3018(a) based on reasoned analysis); In re Goldstein, 114 B.R. 430, 433 (Bankr. E.D. Pa.

                                                                  23   1990); Collier on Bankr. ¶ 9-3018[5] (16th ed. rev. 2012) (“The court, however, regardless of the

                                                                  24   circumstances, has the discretion to allow or disallow all or part of the claim for voting purposes.”).

                                                                  25   E.      The Claim Should Be Estimated at $0.00 for Plan Voting Purposes

                                                                  26           The Bankruptcy Code and the Bankruptcy Rules authorize the estimation and temporary

                                                                  27   allowance of claims for voting purposes. Section 502(c)(1) of the Bankruptcy Code provides:

                                                                  28


                                                                       DOCS_LA:328670.1 46353/002                         7
                                                                   Case 2:19-bk-24804-VZ            Doc 555
                                                                                                        500 Filed 04/03/20
                                                                                                                  04/02/20 Entered 04/03/20
                                                                                                                                    04/02/20 17:04:30
                                                                                                                                             21:38:40              Desc
                                                                                                     Main Document    Page 9
                                                                                                                           8 of 117
                                                                                                                                114


                                                                   1                    There shall be estimated for purpose of allowance under this section –
                                                                                        (1) any contingent or unliquidated claim, the fixing or liquidation of
                                                                   2                    which, as the case may be, would unduly delay the administration of
                                                                   3                    the case.

                                                                   4   11 U.S.C. § 502 (c)(1). Bankruptcy Rule 3018(a) provides in pertinent part:
                                                                   5

                                                                   6                    Notwithstanding objection to a claim or interest, the court after notice
                                                                                        and hearing may temporarily allow the claim or interest in an amount
                                                                   7                    which the court deems proper for the purpose of accepting or rejecting
                                                                                        a plan.
                                                                   8

                                                                   9   Fed. R. Bankr. P. 3018(a). "Temporary allowance of a claim under Rule 3018(a) is not dispositive as

                                                                  10   [to] the amount of the claim; it provides only limited voting authority to a creditor." Armstrong v.

                                                                  11   Rushton (In re Armstrong), 292 B.R. 678, 686 (10th Cir. BAP 2003).
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12           Importantly, estimation for voting purposes is within the reasonable discretion of the Court.
                                        LOS ANGELES, CALIFORNIA




                                                                  13   As one bankruptcy court stated: Neither the Bankruptcy Code nor the Bankruptcy Rules prescribe
                                           ATTORNEYS AT LAW




                                                                  14   any method for estimating a claim, and it is therefore committed to the reasonable discretion of the

                                                                  15   court, In re Hydrox Chemical Co., 194 B.R. 617, 623 (Bankr. N.D.Ill. 1996), which should employ

                                                                  16   whatever method is best suited to the circumstances of the case. Id.; In re Thomson McKinnon

                                                                  17   Securities, Inc., 191 B.R. 976, 979 (Bankr. S.D.N.Y. 1996). In estimating a claim, the bankruptcy

                                                                  18   court should use the method best suited to the particular circumstances. See Bittner v. Borne Chem.

                                                                  19   Co., 691 F.2d 134, 135-136 (3d Cir. 1982); Kool, Mann, Coffee & Co. v. Coffey, 300 F.3d 340, 356

                                                                  20   (3d Cir. 2002). Although a court maintains broad discretion when estimating claims, the court is

                                                                  21   “dealing with uncertainties, and... attempting to make predictions which are themselves based upon

                                                                  22   predictions and assumptions.” Owens Corning v. Credit Suisse First Boston, 322 B.R. 719, 721 (D.

                                                                  23   Del. 2005). Accordingly, “the Court will not seek to analyze the estimations before it for

                                                                  24   mathematical precision, nor will it attempt to reach its own exact number.” In re Armstrong World

                                                                  25   Indus., Inc., 348 B.R. 111, 124 (D. Del. 2006).

                                                                  26           Where the court determines that the claim represents little or no real future liability of the

                                                                  27   debtor, the court may estimate the claim at zero. See, e.g., Bittner, 691 F.2d at 137 (affirming

                                                                  28   bankruptcy court's estimation of the claim at zero where litigation underlying the claim was deemed


                                                                       DOCS_LA:328670.1 46353/002                          8
                                                                   Case 2:19-bk-24804-VZ                 Doc 555
                                                                                                             500 Filed 04/03/20
                                                                                                                       04/02/20 Entered 04/03/20
                                                                                                                                         04/02/20 17:04:30
                                                                                                                                                  21:38:40                              Desc
                                                                                                         Main
                                                                                                          MainDocument
                                                                                                              Document PagePage10
                                                                                                                                9 of
                                                                                                                                  of114
                                                                                                                                     117


                                                                   1   unlikely to be successful); In re Ry. Reorganization Estate, Inc., 133 B.R. 574, 577 (Bankr. D. Del.

                                                                   2   1991; In re Genesis Health Ventures, 272 B.R. 558, 574 (Bankr. D. Del. 2002).

                                                                   3   F.         The Debtor Is Not Liable for the Claim
                                                                   4              As already noted above, the Debtor is not a party to the Lease and, as such, has no

                                                                   5   contractual relationship with the Claimant. Instead, the Claimant alleges that a variety of entities,

                                                                   6   including the lessee parties on the Lease, are “alter egos” of the Debtor.

                                                                   7              In order to invoke the alter ego doctrine in California and ignore the corporate form, a party

                                                                   8   must demonstrate both (1) that there is such unity of interest and ownership that the separate

                                                                   9   personalities of the corporation and its individual owner no longer exist, and (2) that, if the acts

                                                                  10   complained of are treated as those of the corporation alone, an inequitable result will follow.

                                                                  11   Associated Vendors, Inc. v. Oakland Meat Co., 210 Cal. App. 2d 825, 837 (1962); 26 Cal. Rptr. 806,
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                                                                  12   813 (citing Automotriz etc. De California v. Resnick, 47 Cal.2d 792, 796 (1957); Stark v. Coker, 20
                                        LOS ANGELES, CALIFORNIA




                                                                  13   Cal.2d 839, 846 (1942); Watson v. Commonwealth Ins. Co., 8 Cal.2d 61, 68, 63 P.2d 295 (1936);
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                                                                  14   and Minifie v. Rowley, 187 Cal. 481, 487, 202 P. 673 (1921)). However, even if a court were to

                                                                  15   determine that both elements are satisfied, it is not required to apply the doctrine. Id.

                                                                  16              “Alter ego is essentially a theory of vicarious liability under which the owners of a

                                                                  17   corporation” or an affiliated corporation “may be held liable for harm for which the corporation is

                                                                  18   responsible.” Doney v. TRW, Inc., 33 Cal. App. 4th 245, 249 (1995) (citing Mesler v. Bragg

                                                                  19   Management Co., 39 Cal. 3d 290, 300, 302–04 (1985)). The law grants corporations the

                                                                  20   presumption of a separate identity. “It is the plaintiff’s burden to overcome the presumption of the

                                                                  21   separate existence of the corporate entity.” Mid-Century Ins. Co. v. Gardner, 9 Cal. App. 4th 1205,

                                                                  22   1212 (1992). “Because society recognizes the benefits of allowing persons and organizations to

                                                                  23   limit their business risks through incorporation, sound public policy dictates that imposition of alter

                                                                  24   ego liability be approached with caution.” Gopal v. Kaiser Found. Health Plan, Inc., 248 Cal. App.

                                                                  25   4th 425, 431 (2016). Indeed, “the corporate form will be disregarded only in narrowly defined

                                                                  26   circumstances.” Mesler, 39 Cal. 3d at 301; see also Sonora Diamond Corp. v. Superior Court, 83

                                                                  27   Cal. App. 4th 523, 539 (2000) (“Alter ego is an extreme remedy, sparingly used.”).4

                                                                  28
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                                                                           Where, as here, a plaintiff’s theory of alter ego is founded on a contractual relationship, courts are less likely to apply

                                                                       DOCS_LA:328670.1 46353/002                                       9
                                                                   Case 2:19-bk-24804-VZ             Doc 555
                                                                                                         500 Filed 04/03/20
                                                                                                                   04/02/20 Entered 04/03/20
                                                                                                                                      04/02/20 17:04:30
                                                                                                                                               21:38:40                        Desc
                                                                                                     Main Document    Page 11
                                                                                                                            10 of 117
                                                                                                                                  114


                                                                   1           Here, the Claimant cannot show that there is such unity of interest and ownership that the

                                                                   2   separate personalities of the corporation and its individual owner no longer exist. Even if the

                                                                   3   Claimant were able to allege a sufficient unity of interest among the Debtor and the Entities laundry-

                                                                   4   listed in the Complaint, it still must show that an inequitable result will follow if the Entities’

                                                                   5   corporate separateness is maintained. See Las Palmas, 235 Cal. App. 3d at 1249–50. However, the

                                                                   6   only inequity the Claimant can point to is that it may not be able to recover any rent or damages due

                                                                   7   under the Lease. See Complaint, ¶ 56 (injustice would result “by protecting Mr. Jia from liability for

                                                                   8   the wrongful acts committed by them through or under the names of either or both of Le Holdings

                                                                   9   and/or Le Technology.”). An assertion that the Claimant is merely an unsatisfied creditor is

                                                                  10   insufficient. See Sonora Diamond, 83 Cal. App. 4th at 539 (“The alter ego doctrine does not guard

                                                                  11   every unsatisfied creditor of a corporation but instead affords protection where some conduct
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                                                                  12   amounting to bad faith makes it inequitable for the corporate owner to hide behind the corporate
                                        LOS ANGELES, CALIFORNIA




                                                                  13   form. Difficulty in enforcing a judgment or collecting a debt does not satisfy this standard.”)
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                                                                  14   (collecting cases).

                                                                  15           Here, the Debtor has no direct liability to the Claimant, which is merely an unsatisfied

                                                                  16   creditor of two non-debtor entities that are not alter egos of the Debtor. Therefore, in the absence of

                                                                  17   the Claimant being able to meet the high burden needed to satisfy the two-part test and invoke the

                                                                  18   doctrine, the Claim should be disallowed or estimated at $0.00 for purposes of voting on the

                                                                  19   Debtor’s Plan.

                                                                  20                                                          IV.
                                                                  21                                   GENERAL RESERVATION OF RIGHTS

                                                                  22           The Debtor expressly reserves the right to amend, modify or supplement this Motion, and to

                                                                  23   file additional, other, or further objections to any proofs of claim filed in this Chapter 11 Case,

                                                                  24   including, without limitation, objections as to the amounts asserted therein, or any other claims (filed

                                                                  25   or not) against the Debtor, regardless of whether such claims are subject to this Motion. Should one

                                                                  26   or more of the grounds of objection stated in this Motion be denied, the Debtor reserves his rights to

                                                                  27

                                                                  28   the doctrine. See Cambridge Elecs. Corp. v. MGA Elecs., Inc., 227 F.R.D. 313, 330 n.50 (C.D. Cal. 2004) (applying
                                                                       California alter ego law and collecting cases); accord The Rutter Group, Cal. Prac. Guide Corps. Ch. 2-B, § 2:52.2.

                                                                       DOCS_LA:328670.1 46353/002                                10
                                                                   Case 2:19-bk-24804-VZ            Doc 555
                                                                                                        500 Filed 04/03/20
                                                                                                                  04/02/20 Entered 04/03/20
                                                                                                                                     04/02/20 17:04:30
                                                                                                                                              21:38:40            Desc
                                                                                                    Main Document    Page 12
                                                                                                                           11 of 117
                                                                                                                                 114


                                                                   1   object on other stated grounds or on any other grounds he discovers during the pendency of this

                                                                   2   Chapter 11 Case. In addition, the Debtor reserves the right to file counterclaims against the holders

                                                                   3   of any such claims.

                                                                   4                                                   V.

                                                                   5                                                  NOTICE

                                                                   6            The Debtor will serve copies of this Motion on: (a) the Claimants, (b) the Office of the

                                                                   7   United States Trustee, (c) counsel to the Committee, and (d) all parties who have requested notices

                                                                   8   in this Chapter 11 Case pursuant to Bankruptcy Rule 2002

                                                                   9
                                                                                                                       VI.
                                                                  10

                                                                  11                                              CONCLUSION
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                                                                  12
                                                                                WHEREFORE, the Debtor respectfully requests that the Court enter an order granting the
                                        LOS ANGELES, CALIFORNIA




                                                                  13
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                                                                       relief requested herein and granting the Debtor such other and further relief as is just and proper.
                                                                  14
                                                                       Dated:       April 2, 2020                    PACHULSKI STANG ZIEHL & JONES LLP
                                                                  15

                                                                  16
                                                                                                                     /s/ Malhar S. Pagay
                                                                  17                                                 Richard M. Pachulski
                                                                                                                     Jeffrey W. Dulberg
                                                                  18                                                 Malhar S. Pagay

                                                                  19                                                 Attorneys for Debtor and Debtor in Possession

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                                                                       DOCS_LA:328670.1 46353/002                           11
                                                                   Case 2:19-bk-24804-VZ            Doc 555
                                                                                                        500 Filed 04/03/20
                                                                                                                  04/02/20 Entered 04/03/20
                                                                                                                                     04/02/20 17:04:30
                                                                                                                                              21:38:40            Desc
                                                                                                    Main Document    Page 13
                                                                                                                           12 of 117
                                                                                                                                 114


                                                                   1                                    DECLARATION OF YUETING JIA

                                                                   2             I, Yueting Jia, under penalty of perjury, declare as follows:

                                                                   3             1.     I am the debtor and debtor in possession (the “Debtor”), and I filed a voluntary

                                                                   4   petition under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) commencing

                                                                   5   the above-captioned bankruptcy case (the “Chapter 11 Case”) on October 14, 2019 (the “Petition

                                                                   6   Date”).

                                                                   7             2.     I submit this declaration (the “Declaration”) in support of the Objection to Claim or,

                                                                   8   Alternatively, Motion for Estimation of Claim No. 60 Filed by Han’s San Jose Hospitality LLC, for

                                                                   9   Purposes of Voting on Plan (the “Motion”)5.

                                                                  10             3.     Except as otherwise indicated, all statements in this Declaration are based upon my

                                                                  11   personal knowledge, my review of books and records, relevant documents and other information
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                                                                  12   prepared or collected by my employees, advisors and representatives, or my opinion based on my

                                                                       experience. In making my statements based on my review of books and records, relevant documents
                                        LOS ANGELES, CALIFORNIA




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                                                                  14   and other information prepared or collected by my professionals, advisors and employees, I have

                                                                  15   relied upon these professionals, advisors and employees accurately recording, preparing or collecting

                                                                  16   such documentation and other information. If I were called to testify as a witness in this matter, I

                                                                  17   could and would competently testify to each of the facts set forth herein.

                                                                  18             4.     I am not fluent in English. Accordingly, in the ordinary course of my business and

                                                                  19   personal affairs that require me to communicate in English either orally or in writing, I employ

                                                                  20   interpreters/translators who are fluent in both English and Chinese. I am utilizing such

                                                                  21   interpreters/translators in connection with matters that arise in connection with my Chapter 11 Case

                                                                  22   and intend to continue to do so. I have reviewed the Motion with the assistance of such

                                                                  23   interpreters/translators and can confirm that the factual statements contained therein are true and

                                                                  24   correct to the best of my knowledge.

                                                                  25             5.     I have reviewed the Claim No. 60, filed by Han’s San Jose Hospitality LLC (the

                                                                  26   “Claim”). I understand that the Claim, a true and correct copy of which is attached hereto as Exhibit

                                                                  27   “A,” is predicated upon a Complaint for (1) Breach of Contract; (2) Breach of Implied Covenant of

                                                                  28
                                                                       5
                                                                           Capitalized terms not defined herein shall have the same meaning ascribed to them in the Motion.

                                                                       DOCS_LA:328670.1 46353/002                           12
                                                                   Case 2:19-bk-24804-VZ            Doc 555
                                                                                                        500 Filed 04/03/20
                                                                                                                  04/02/20 Entered 04/03/20
                                                                                                                                     04/02/20 17:04:30
                                                                                                                                              21:38:40           Desc
                                                                                                    Main Document    Page 14
                                                                                                                           13 of 117
                                                                                                                                 114


                                                                   1   Good Faith and Fair Dealing; (3) Fraud; (4) Negligent Misrepresentation; (5) Negligence; (6)

                                                                   2   Intentional Interference with Contract (the “Complaint”), filed by Claimant against me and Ocean

                                                                   3   View Drive, Inc. (“Ocean View”), and attached to the proof of claim.

                                                                   4           6.       The Complaint states: “This is an action for breach of contract and related claims

                                                                   5   arising out of a written rental agreement (“Lease”) for … commercial property ….” Complaint, 1 at

                                                                   6   ¶ 1. The written rental agreement referenced in the Complaint is that certain Office Lease, by and

                                                                   7   between BSREP Rio Robles LLC, on the one hand, and Le Technology, Inc., and Le Holdings

                                                                   8   (Beijing) Co., Ltd., attached as Exhibit “1” to the Complaint (the “Lease”). The Complaint alleges

                                                                   9   that “[o]n information and belief, [Claimant] alleges that Ocean View Drive, Le Technology and

                                                                  10   Faraday Future served as alter egos for [the Debtor] ….” Id., 2 at ¶ 4.

                                                                  11           7.       I am not a party to the Lease. Neither Ocean View, Le Technology, Inc., nor Le
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                                                                  12   Holdings (Beijing) Co.., Ltd., are my “alter egos”.
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                                                                  13
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                                                                  14           I declare under penalty of perjury under the laws of the United States of America that the

                                                                  15   foregoing is true and correct.

                                                                  16                         2nd day of April, 2020, at _______________,
                                                                               Executed this ___                          Gardena        California.

                                                                  17

                                                                  18
                                                                                                                             Yueting Jia
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                                                                       DOCS_LA:328670.1 46353/002                         14
Case 2:19-bk-24804-VZ   Doc 555
                            500 Filed 04/03/20
                                      04/02/20 Entered 04/03/20
                                                         04/02/20 17:04:30
                                                                  21:38:40   Desc
                        Main Document    Page 15
                                               14 of 117
                                                     114




              EXHIBIT “A”




EXHIBIT “A”
Case 2:19-bk-24804-VZ   Doc 555
                            500 Filed 04/03/20
                                      04/02/20 Entered 04/03/20
                                                         04/02/20 17:04:30
                                                                  21:38:40   Desc
                        Main Document    Page 16
                                               15 of 117
                                                     114
Case 2:19-bk-24804-VZ   Doc 555
                            500 Filed 04/03/20
                                      04/02/20 Entered 04/03/20
                                                         04/02/20 17:04:30
                                                                  21:38:40   Desc
                        Main Document    Page 17
                                               16 of 117
                                                     114
Case 2:19-bk-24804-VZ   Doc 555
                            500 Filed 04/03/20
                                      04/02/20 Entered 04/03/20
                                                         04/02/20 17:04:30
                                                                  21:38:40   Desc
                        Main Document    Page 18
                                               17 of 117
                                                     114
Case 2:19-bk-24804-VZ   Doc 555
                            500 Filed 04/03/20
                                      04/02/20 Entered 04/03/20
                                                         04/02/20 17:04:30
                                                                  21:38:40   Desc
                        Main Document    Page 19
                                               18 of 117
                                                     114
Case 2:19-bk-24804-VZ   Doc 555
                            500 Filed 04/03/20
                                      04/02/20 Entered 04/03/20
                                                         04/02/20 17:04:30
                                                                  21:38:40   Desc
                        Main Document    Page 20
                                               19 of 117
                                                     114
Case 2:19-bk-24804-VZ   Doc 555
                            500 Filed 04/03/20
                                      04/02/20 Entered 04/03/20
                                                         04/02/20 17:04:30
                                                                  21:38:40   Desc
                        Main Document    Page 21
                                               20 of 117
                                                     114
Case 2:19-bk-24804-VZ   Doc 555
                            500 Filed 04/03/20
                                      04/02/20 Entered 04/03/20
                                                         04/02/20 17:04:30
                                                                  21:38:40   Desc
                        Main Document    Page 22
                                               21 of 117
                                                     114
Case 2:19-bk-24804-VZ   Doc 555
                            500 Filed 04/03/20
                                      04/02/20 Entered 04/03/20
                                                         04/02/20 17:04:30
                                                                  21:38:40   Desc
                        Main Document    Page 23
                                               22 of 117
                                                     114
Case 2:19-bk-24804-VZ   Doc 555
                            500 Filed 04/03/20
                                      04/02/20 Entered 04/03/20
                                                         04/02/20 17:04:30
                                                                  21:38:40   Desc
                        Main Document    Page 24
                                               23 of 117
                                                     114
Case 2:19-bk-24804-VZ   Doc 555
                            500 Filed 04/03/20
                                      04/02/20 Entered 04/03/20
                                                         04/02/20 17:04:30
                                                                  21:38:40   Desc
                        Main Document    Page 25
                                               24 of 117
                                                     114
Case 2:19-bk-24804-VZ   Doc 555
                            500 Filed 04/03/20
                                      04/02/20 Entered 04/03/20
                                                         04/02/20 17:04:30
                                                                  21:38:40   Desc
                        Main Document    Page 26
                                               25 of 117
                                                     114
Case 2:19-bk-24804-VZ   Doc 555
                            500 Filed 04/03/20
                                      04/02/20 Entered 04/03/20
                                                         04/02/20 17:04:30
                                                                  21:38:40   Desc
                        Main Document    Page 27
                                               26 of 117
                                                     114
Case 2:19-bk-24804-VZ   Doc 555
                            500 Filed 04/03/20
                                      04/02/20 Entered 04/03/20
                                                         04/02/20 17:04:30
                                                                  21:38:40   Desc
                        Main Document    Page 28
                                               27 of 117
                                                     114
Case 2:19-bk-24804-VZ   Doc 555
                            500 Filed 04/03/20
                                      04/02/20 Entered 04/03/20
                                                         04/02/20 17:04:30
                                                                  21:38:40   Desc
                        Main Document    Page 29
                                               28 of 117
                                                     114
Case 2:19-bk-24804-VZ   Doc 555
                            500 Filed 04/03/20
                                      04/02/20 Entered 04/03/20
                                                         04/02/20 17:04:30
                                                                  21:38:40   Desc
                        Main Document    Page 30
                                               29 of 117
                                                     114
Case 2:19-bk-24804-VZ   Doc 555
                            500 Filed 04/03/20
                                      04/02/20 Entered 04/03/20
                                                         04/02/20 17:04:30
                                                                  21:38:40   Desc
                        Main Document    Page 31
                                               30 of 117
                                                     114
Case 2:19-bk-24804-VZ   Doc 555
                            500 Filed 04/03/20
                                      04/02/20 Entered 04/03/20
                                                         04/02/20 17:04:30
                                                                  21:38:40   Desc
                        Main Document    Page 32
                                               31 of 117
                                                     114
Case 2:19-bk-24804-VZ   Doc 555
                            500 Filed 04/03/20
                                      04/02/20 Entered 04/03/20
                                                         04/02/20 17:04:30
                                                                  21:38:40   Desc
                        Main Document    Page 33
                                               32 of 117
                                                     114
Case 2:19-bk-24804-VZ   Doc 555
                            500 Filed 04/03/20
                                      04/02/20 Entered 04/03/20
                                                         04/02/20 17:04:30
                                                                  21:38:40   Desc
                        Main Document    Page 34
                                               33 of 117
                                                     114
Case 2:19-bk-24804-VZ   Doc 555
                            500 Filed 04/03/20
                                      04/02/20 Entered 04/03/20
                                                         04/02/20 17:04:30
                                                                  21:38:40   Desc
                        Main Document    Page 35
                                               34 of 117
                                                     114
Case 2:19-bk-24804-VZ   Doc 555
                            500 Filed 04/03/20
                                      04/02/20 Entered 04/03/20
                                                         04/02/20 17:04:30
                                                                  21:38:40   Desc
                        Main Document    Page 36
                                               35 of 117
                                                     114
Case 2:19-bk-24804-VZ   Doc 555
                            500 Filed 04/03/20
                                      04/02/20 Entered 04/03/20
                                                         04/02/20 17:04:30
                                                                  21:38:40   Desc
                        Main Document    Page 37
                                               36 of 117
                                                     114
Case 2:19-bk-24804-VZ   Doc 555
                            500 Filed 04/03/20
                                      04/02/20 Entered 04/03/20
                                                         04/02/20 17:04:30
                                                                  21:38:40   Desc
                        Main Document    Page 38
                                               37 of 117
                                                     114
Case 2:19-bk-24804-VZ   Doc 555
                            500 Filed 04/03/20
                                      04/02/20 Entered 04/03/20
                                                         04/02/20 17:04:30
                                                                  21:38:40   Desc
                        Main Document    Page 39
                                               38 of 117
                                                     114
Case 2:19-bk-24804-VZ   Doc 555
                            500 Filed 04/03/20
                                      04/02/20 Entered 04/03/20
                                                         04/02/20 17:04:30
                                                                  21:38:40   Desc
                        Main Document    Page 40
                                               39 of 117
                                                     114
Case 2:19-bk-24804-VZ   Doc 555
                            500 Filed 04/03/20
                                      04/02/20 Entered 04/03/20
                                                         04/02/20 17:04:30
                                                                  21:38:40   Desc
                        Main Document    Page 41
                                               40 of 117
                                                     114
Case 2:19-bk-24804-VZ   Doc 555
                            500 Filed 04/03/20
                                      04/02/20 Entered 04/03/20
                                                         04/02/20 17:04:30
                                                                  21:38:40   Desc
                        Main Document    Page 42
                                               41 of 117
                                                     114
Case 2:19-bk-24804-VZ   Doc 555
                            500 Filed 04/03/20
                                      04/02/20 Entered 04/03/20
                                                         04/02/20 17:04:30
                                                                  21:38:40   Desc
                        Main Document    Page 43
                                               42 of 117
                                                     114
Case 2:19-bk-24804-VZ   Doc 555
                            500 Filed 04/03/20
                                      04/02/20 Entered 04/03/20
                                                         04/02/20 17:04:30
                                                                  21:38:40   Desc
                        Main Document    Page 44
                                               43 of 117
                                                     114
Case 2:19-bk-24804-VZ   Doc 555
                            500 Filed 04/03/20
                                      04/02/20 Entered 04/03/20
                                                         04/02/20 17:04:30
                                                                  21:38:40   Desc
                        Main Document    Page 45
                                               44 of 117
                                                     114
Case 2:19-bk-24804-VZ   Doc 555
                            500 Filed 04/03/20
                                      04/02/20 Entered 04/03/20
                                                         04/02/20 17:04:30
                                                                  21:38:40   Desc
                        Main Document    Page 46
                                               45 of 117
                                                     114
Case 2:19-bk-24804-VZ   Doc 555
                            500 Filed 04/03/20
                                      04/02/20 Entered 04/03/20
                                                         04/02/20 17:04:30
                                                                  21:38:40   Desc
                        Main Document    Page 47
                                               46 of 117
                                                     114
Case 2:19-bk-24804-VZ   Doc 555
                            500 Filed 04/03/20
                                      04/02/20 Entered 04/03/20
                                                         04/02/20 17:04:30
                                                                  21:38:40   Desc
                        Main Document    Page 48
                                               47 of 117
                                                     114
Case 2:19-bk-24804-VZ   Doc 555
                            500 Filed 04/03/20
                                      04/02/20 Entered 04/03/20
                                                         04/02/20 17:04:30
                                                                  21:38:40   Desc
                        Main Document    Page 49
                                               48 of 117
                                                     114
Case 2:19-bk-24804-VZ   Doc 555
                            500 Filed 04/03/20
                                      04/02/20 Entered 04/03/20
                                                         04/02/20 17:04:30
                                                                  21:38:40   Desc
                        Main Document    Page 50
                                               49 of 117
                                                     114
Case 2:19-bk-24804-VZ   Doc 555
                            500 Filed 04/03/20
                                      04/02/20 Entered 04/03/20
                                                         04/02/20 17:04:30
                                                                  21:38:40   Desc
                        Main Document    Page 51
                                               50 of 117
                                                     114
Case 2:19-bk-24804-VZ   Doc 555
                            500 Filed 04/03/20
                                      04/02/20 Entered 04/03/20
                                                         04/02/20 17:04:30
                                                                  21:38:40   Desc
                        Main Document    Page 52
                                               51 of 117
                                                     114
Case 2:19-bk-24804-VZ   Doc 555
                            500 Filed 04/03/20
                                      04/02/20 Entered 04/03/20
                                                         04/02/20 17:04:30
                                                                  21:38:40   Desc
                        Main Document    Page 53
                                               52 of 117
                                                     114
Case 2:19-bk-24804-VZ   Doc 555
                            500 Filed 04/03/20
                                      04/02/20 Entered 04/03/20
                                                         04/02/20 17:04:30
                                                                  21:38:40   Desc
                        Main Document    Page 54
                                               53 of 117
                                                     114
Case 2:19-bk-24804-VZ   Doc 555
                            500 Filed 04/03/20
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                                               54 of 117
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                        Main Document    Page 56
                                               55 of 117
                                                     114
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                        Main Document    Page 57
                                               56 of 117
                                                     114
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                        Main Document    Page 58
                                               57 of 117
                                                     114
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                        Main Document    Page 59
                                               58 of 117
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                        Main Document    Page 60
                                               59 of 117
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                        Main Document    Page 61
                                               60 of 117
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                        Main Document    Page 62
                                               61 of 117
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                        Main Document    Page 63
                                               62 of 117
                                                     114
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                        Main Document    Page 64
                                               63 of 117
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                        Main Document    Page 65
                                               64 of 117
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                        Main Document    Page 66
                                               65 of 117
                                                     114
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                                               66 of 117
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                        Main Document    Page 68
                                               67 of 117
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                        Main Document    Page 69
                                               68 of 117
                                                     114
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                        Main Document    Page 70
                                               69 of 117
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                                               70 of 117
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                                               71 of 117
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                        Main Document    Page 73
                                               72 of 117
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                        Main Document    Page 74
                                               73 of 117
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                                               74 of 117
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                                               75 of 117
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                        Main Document    Page 77
                                               76 of 117
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                                               77 of 117
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                                               78 of 117
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                                               79 of 117
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                                               80 of 117
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                                               81 of 117
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                                               82 of 117
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                                               83 of 117
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                                               84 of 117
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                                               85 of 117
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                                               86 of 117
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                                               87 of 117
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                                               88 of 117
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                                               89 of 117
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                        Main Document    Page 91
                                               90 of 117
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                        Main Document    Page 92
                                               91 of 117
                                                     114
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                        Main Document    Page 93
                                               92 of 117
                                                     114
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                        Main Document    Page 94
                                               93 of 117
                                                     114
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                        Main Document    Page 95
                                               94 of 117
                                                     114
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                        Main Document    Page 96
                                               95 of 117
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                        Main Document    Page 97
                                               96 of 117
                                                     114
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                        Main Document    Page 98
                                               97 of 117
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                        Main Document    Page 99
                                               98 of 117
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                                                99 of
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                        Main Document   Page 101
                                              100 of 117
                                                     114
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                        Main Document   Page 102
                                              101 of 117
                                                     114
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                        Main Document   Page 103
                                              102 of 117
                                                     114
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                        Main Document   Page 104
                                              103 of 117
                                                     114
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                        Main Document   Page 105
                                              104 of 117
                                                     114
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                        Main Document   Page 106
                                              105 of 117
                                                     114
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                        Main Document   Page 107
                                              106 of 117
                                                     114
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                        Main Document   Page 108
                                              107 of 117
                                                     114
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                        Main Document   Page 109
                                              108 of 117
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                        Main Document   Page 110
                                              109 of 117
                                                     114
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                        Main Document   Page 111
                                              110 of 117
                                                     114
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                        Main Document   Page 112
                                              111 of 117
                                                     114
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                        Main Document   Page 113
                                              112 of 117
                                                     114
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                                                  Main Document   Page 114
                                                                        113 of 117
                                                                               114

                                         PROOF OF SERVICE OF DOCUMENT
 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                                10100 Santa Monica Boulevard, 13th Floor, Los Angeles, CA 90067

 A true and correct copy of the foregoing document entitled (specify): DEBTOR’S NOTICE OF OBJECTION AND
 MOTION, AND OBJECTION TO CLAIM OR, ALTERNATIVELY, MOTION FOR ESTIMATION OF
 CLAIM NO. 60 FILED BY HAN’S SAN JOSE HOSPITALITY LLC, FOR PURPOSES OF VOTING ON
 PLAN; MEMORANDUM OF POINTS AND AUTHORITIES AND DECLARATION OF YUETING JIA IN
 SUPPORT THEREOF will be served or was served (a) on the judge in chambers in the form and manner required by
 LBR 5005-2(d); and (b) in the manner stated below:

 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
 Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 April 2, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
 following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:



                                                                                          Service information continued on attached page

 2. SERVED BY UNITED STATES MAIL:
 On (date) April 2, 2020, I served the following persons and/or entities at the last known addresses in this bankruptcy case
 or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
 class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
 will be completed no later than 24 hours after the document is filed.

 United States Bankruptcy Court
 Central District of California
 Attn: Hon. Vincent Zurzolo
 Edward R. Roybal Federal Bldg./Courthouse
 255 East Temple Street, Suite 1360
 Los Angeles, CA 90012


                                                                                          Service information continued on attached page

 3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for
 each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) ___________, I served the
 following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such
 service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that
 personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.



                                                                                          Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 April 2, 2020      Nancy H. Brown                                                            /s/ Nancy H. Brown
 Date                      Printed Name                                                       Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
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                                             Main Document   Page 115
                                                                   114 of 117
                                                                          114


SERVICE INFORMATION FOR CASE NO. 2:19-bk-24804-VZ
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

        Tanya Behnam tbehnam@polsinelli.com, tanyabehnam@gmail.com
        Jerrold L Bregman ecf@bg.law, jbregman@bg.law
        Jeffrey W Dulberg jdulberg@pszjlaw.com
        Lei Lei Wang Ekvall lekvall@swelawfirm.com,
         lgarrett@swelawfirm.com;gcruz@swelawfirm.com;jchung@swelawfirm.com
        Stephen D Finestone sfinestone@fhlawllp.com
        Richard H Golubow rgolubow@wghlawyers.com,
         pj@wcghlaw.com;jmartinez@wghlawyers.com;Meir@virtualparalegalservices.com
        Alexandra N Krasovec krasovec.alexandra@dorsey.com, claridge.vanessa@dorsey.com
        Ben H Logan blogan@omm.com
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         gcruz@swelawfirm.com;lgarrett@swelawfirm.com;jchung@swelawfirm.com
        David W. Meadows david@davidwmeadowslaw.com
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         pdillamar@sulmeyerlaw.com;pdillamar@ecf.inforuptcy.com;vsahn@ecf.inforuptcy.com;cblair@sulmeyerlaw.com;cblair@ecf
         .inforuptcy.com;dlee@metallawgroup.com;dlee@ecf.inforuptcy.com
        Randye B Soref rsoref@polsinelli.com, ccripe@polsinelli.com;ladocketing@polsinelli.com
        Benjamin Taylor btaylor@taylorlawfirmpc.com
        United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
        Felix T Woo fwoo@ftwlawgroup.com, admin@ftwlawgroup.com
        Claire K Wu ckwu@sulmeyerlaw.com,
         mviramontes@sulmeyerlaw.com;ckwu@ecf.courtdrive.com;ckwu@ecf.inforuptcy.com
        Emily Young pacerteam@gardencitygroup.com, rjacobs@ecf.epiqsystems.com;ECFInbox@epiqsystems.com
        David B Zolkin dzolkin@ztlegal.com, maraki@ztlegal.com,sfritz@ztlegal.com




    This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                            F 9013-3.1.PROOF.SERVICE
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                                               Main Document   Page 116 of 117

                                        PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                             10100 Santa Monica Blvd., 13th Floor, Los Angeles, CA 90067

A true and correct copy of the foregoing document entitled: NOTICE OF OBJECTION TO CLAIM will be served or was
served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
April 3, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                           Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) April 3, 2020, I served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.

VIA U.S. MAIL
United States Bankruptcy Court
Central District of California
Attn: Hon. Vincent Zurzolo
Edward R. Roybal Federal Bldg./Courthouse
255 East Temple Street, Suite 1360
Los Angeles, CA 90012


                                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _________, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.


                                                                                           Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 April 3, 2020             Nancy H. Brown                                             /s/ Nancy H. Brown
 Date                        Printed Name                                                    Signature




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December 2012                                                         Page 2                          F 3007-1.1.NOTICE.OBJ.CLAIM
DOCS_LA:328815.1 46353/002
        Case 2:19-bk-24804-VZ                  Doc 555 Filed 04/03/20 Entered 04/03/20 17:04:30                                        Desc
                                               Main Document   Page 117 of 117

SERVICE INFORMATION FOR CASE NO. 2:19-bk-24804-VZ
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December 2012                                                         Page 2                          F 3007-1.1.NOTICE.OBJ.CLAIM
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